                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK

NOE GONZALEZ, individually and on behalf of all
others similarly situated,

                                         Plaintiff,   21-cv-5017

                    - against -
                                                      Hon. Pamela K. Chen, USDJ
THE CHEESECAKE FACTORY RESTAURANTS,
INC. d/b/a THE CHEESECAKE FACTORY,

                                      Defendants.




PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S MOTION
                     TO COMPEL ARBITRATION




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                                   PRELIMINARY STATEMENT

          According to the Cheesecake Factory Restaurants, Inc. (“TCFI”) only “the Spanish

language version of the employee handbook. . .was provided to Mr. Gonzalez.” 1 However, the

language in the Spanish handbook does not compel binding arbitration. 2

          Moreover, the Defendant has not offered any evidence in admissible form in support of

the motion to compel arbitration. A party seeking to compel must bears the burden of showing,

through admissible evidence, that an agreement to arbitrate exists. 3 On March 1, 2022, after

reviewing the Defendant’s moving papers, Plaintiff advised The Cheesecake Factory Restaurants,

Inc. (“TCFI”) that it had failed to submit evidence in admissible form in support of its motion to

compel arbitration. 4 Plaintiff also advised TCFI:

          [W]e would strenuously object to any further evidentiary submissions in the Defendant’s
          reply. However, in the interests of reaching the merits of the Defendant’s Motion, please
          advise if [TCFI]is willing to submit a supplemental declaration setting forth the basis for
          each factual statement made in the Declaration [of Barbara Lewis] as well as a proper
          evidentiary foundation for the documents. 5




1 See Declaration of Barbara Lewis (“Lewis Decl.”), ¶ 7; the Spanish version of the handbook is titled
“Manual Del Miembro Del Personal” (the “Spanish handbook” or “Spanish version”)
2 See Expert Report of Dr. Nydia Flores-Ferran, Ph.D., at ¶ 10 (stating that the Spanish handbook
“expresses ambiguity and confusion, and its terminology leads to misguided readings or misinterpretations.
As written in Spanish, it does not plainly compel or require arbitration of employment disputes, nor does it
plainly state that the arbitral resolution will be binding on the employee.”)
3
  TCFI presents a Spanish version of the handbook titled “Manual Del Miembro Del Personal” (the
“Spanish handbook” or “Spanish version”), which is unaccompanied by a certified translation, and
therefore inadmissible. TCFI offers no foundation for the admissibility of the “Staff Member Handbook”
(the “English handbook” or “English version”). The English version is offered by Barbara Lewis, an
individual who does not state that she is fluent in English and Spanish, and offers no qualifications
regarding her translating abilities or expertise. Moreover, TCFI does not state that the English version is a
“true and accurate” translation of the Spanish handbook.
4
 A copy of the relevant email thread is annexed to the Declaration of Steven J. Moser (“Moser Decl.”) as
Exhibit 1.
5
    Id.


                                                      1
Counsel for the respective parties discussed Plaintiff’s concerns during a telephone call on March

4, 2022. To date, TCFI has not furnished evidence in admissible form in support of the motion. 6

          The English version of the handbook is not properly before this court. However, even

assuming that it was signed by the Plaintiff, it would neither compel arbitration nor make such

arbitration binding. The English handbook is illusory, and the document implies that arbitration is

non-binding.

          For these reasons, the motion to compel should be denied.

                                             ARGUMENT

I.        THE SPANISH HANDBOOK DOES NOT REQUIRE ARBITRATION, NOR DOES
          IT MAKE ARBITRATION BINDING

          Plaintiff retained a Spanish and linguistics expert, Dr. Nydia Flores-Ferran, Professor

Emerita in Language Education and Bilingualism and Second Language Acquisition at Rutgers

University’s Graduate School of Education and School of Arts and Sciences, to examine the

Spanish handbook. According to Dr. Flores,

          Linguistic markers related to the last two pages of the manual titled “Acuerdo de
          Confidencialidad y Recibo del Manual” exhibit numerous contradictory messages. The
          language expresses ambiguity and confusion, and its terminology leads to misguided
          readings or misinterpretations. As written in Spanish, it does not plainly compel or require
          arbitration of employment disputes, nor does it plainly state that the arbitral resolution will
          be binding on the employee. 7

          Among the issues identified by Dr. Flores-Ferran are the following: (1) The Spanish

handbook requires both TCFI and the Plaintiff to both agree whether to arbitrate a dispute. This

gives TCFI the power to determine whether arbitration will take place. 8 (2) The Spanish




6
    See Moser Decl.
7
    Expert Report ¶ 10.
8
    Expert Report ¶¶ 23-28.


                                                     2
handbook indicates that TCFI was not bound by any part of the handbook, including the last two

pages. 9 Therefore, the Spanish handbook is illusory.

II.       DEFENDANT HAS NOT PROVEN THE EXISTENCE OF AN AGREEMENT TO
          ARBITRATE

          A.      Defendant Bears the Burden of Proving an Agreement to Arbitrate

          “Under New York law, the party seeking to compel arbitration has the burden of

demonstrating by a preponderance of the evidence the existence of an agreement to arbitrate.”

Biggs v. Midland Credit Mgmt., No. No 17-CV-340 (JFB)(ARL), 2018 U.S. Dist. LEXIS 41146,

at *18 (E.D.N.Y. Mar. 9, 2018). Thus, defendant must present evidence which is sufficient to

demonstrate an enforceable agreement to arbitrate. Oppenheimer & Co. v. Neidhardt, 56 F.3d

352, 358 (2d Cir. 1995). Only after defendant makes such a showing does the burden shifts to

plaintiffs to demonstrate a genuine issue for trial. See Id.

          B.      Only Admissible Evidence may be Considered on a Motion to Compel
                  Arbitration

          “Courts deciding motions to compel [arbitration] apply a standard similar to that

applicable for a motion for summary judgment.” Meyer v. Uber Techs., Inc., 868 F.3d 66, 74 (2d

Cir. 2017). Because “a motion to compel arbitration is reviewed under a summary judgment

standard[,] only admissible evidence may be considered.” Delgado v. Ocwen Loan Servicing,

L.L.C., No. 13-CV-4427 (NGG) (ST), 2016 U.S. Dist. LEXIS 119069, at *20-22 (E.D.N.Y. Sept.

2, 2016) (citing Schnabel v. Trilegiant Corp., 697 F.3d 110, 113 (2d Cir. 2012)); Meyer, 868 F.3d

at 74”




9
    Expert Report ¶¶ 18-22.


                                                   3
          C.      The Spanish Handbook is Inadmissible, Because it is a Foreign Language
                  Document Unaccompanied by a Certified Translation

          It is a “well-established rule that a document in a foreign language is generally

inadmissible unless accompanied by a certified English translation.” Chen v. Wai Café Inc., No.

10 Civ. 7254, 2016 U.S. Dist. LEXIS 20519, 2016 WL 722185, at *6 n.5 (S.D.N.Y. Feb. 19,

2016); see also Sicom S.P.A. v. TRS Inc., 168 F. Supp. 3d 698, 709 & n.9 (S.D.N.Y. 2016)

(foreign-language documents, even if authenticated, “cannot be reviewed or relied on by the

Court . . . unless they are accompanied by certified translations into English”); NV Petrus SA v.

LPG Trading Corp., No. 14-CV-3138 (NGG) (PK), 2017 U.S. Dist. LEXIS 69935, 2017 WL

1905820, at *2 (E.D.N.Y. May 8, 2017) (reminding parties “that they must provide certified

translations of any foreign language documents that they seek to introduce at trial”); Ediciones

Quiroga, S.L. v. Fall River Music, No. 93 Civ. 3914 (RPP), 1998 U.S. Dist. LEXIS 19039, 1998

WL 851574, at *2 n.3 (S.D.N.Y. Dec. 4, 1998) (“Translations of foreign-language documents

which are not certified as true and accurate translations and which do not even identify the

translator are not properly authenticated and are not admissible evidence.”).

          The Spanish handbook is unaccompanied by a certified translation. Therefore, it is

inadmissible.

          The following statement, made by Barbara Lewis, is insufficient to establish the

admissibility of the handbook:

          The Spanish language version of the employee handbook is a literal word-for-word
          translation of the English version. TCFI uses a third-party translation service to translate
          the employee handbook from English to Spanish.10




10
     See Declaration of Barbara Lewis (“Lewis Decl.”) ¶ 6.


                                                      4
       TCFI’s declarant does not claim to be fluent in English and Spanish, or offer any basis for

her opinion that the English handbook is a “literal” translation of the Spanish version. She does

not state how she knows that the “third-party” translated the handbook “literally.” She does not

identify the translation service.

       More importantly, Ms. Lewis does not assert that she is a court-certified, professionally

qualified, or language-skilled interpreter fluent in English and Spanish. Nor does she assert that

the English handbook is a “true and accurate” translation of the Spanish handbook. Therefore, the

Spanish handbook is inadmissible. See Heredia v. Americare, Inc., No. 17 Civ. 06219 (RWL),

2020 U.S. Dist. LEXIS 122880, at *12 (S.D.N.Y. July 13, 2020) (Spanish language documents

unaccompanied by a certified translation “are inadmissible and will not be considered by the

Court.”); Jianjun Chen v. 2425 Broadway Chao Rest., L.L.C., No. 1:16-cv-5735-GHW, 2019 U.S.

Dist. LEXIS 43893, 2019 WL 1244291, at *15 n.10 (S.D.N.Y. Mar. 18, 2019) (“Exhibits 21 and

22 to that affidavit are untranslated-handwritten-Mandarin documents which the Court does not

accept as evidence”); Diaz v. City Univ. of N.Y., No. 13 Civ. 2038, 2017 U.S. Dist. LEXIS

113279, 2017 WL 3088394, at *7 n.9 (S.D.N.Y. July 20, 2017), adopted 2017 U.S. Dist. LEXIS

151113, 2017 WL 4155400 (S.D.N.Y. Sept. 18, 2017) (“[The Court has] not considered any

document in the record that is not translated into English.”); Chevron Corp. v. Donziger, 974 F.

Supp. 2d 362, 704-05 (S.D.N.Y. 2014) (striking Defendants’ exhibits that were entirely or partly

in Spanish); In re Advanced Battery Techs., Inc. Sec. Litig., No. 11 Civ. 2279, 2012 U.S. Dist.

LEXIS 123757, 2012 WL 3758085, at *9 (S.D.N.Y. Aug. 29, 2012) (“The fact that the ABAT

Defendants failed to provide certified translations of the words that appear on the screen shots

precludes my consideration of them”).




                                                 5
          D.      The Lewis Declaration is Inadmissible Because it is Not Based on Personal
                  Knowledge

          It is well established that an affidavit must be based on the personal knowledge of the

affiant. Discover Re Managers, Inc. v. Preferred Emps. Grp., Inc., No. 3:05-CV-809 (WWE),

2006 U.S. Dist. LEXIS 71818, at *16 (D. Conn. Sept. 28, 2006); FRCP 56(c)(4)(“An affidavit or

declaration used to support or oppose a motion must be made on personal knowledge, set out facts

that would be admissible in evidence, and show that the affiant or declarant is competent to testify

on the matters stated.”)

          The Lewis Declaration is not based upon personal knowledge. Ms. Lewis does not profess

to have any personal knowledge of the statements made in her declaration. Instead, she suggests

that she does not have any personal knowledge, because “the bookkeepers at the restaurants

handled all employment paperwork at the restaurant including all onboarding paperwork.” 11

          E.      The Documents Annexed to the Lewis Declaration are Inadmissible Hearsay

          Hearsay is inadmissible unless one of the exceptions to the rule against hearsay applies.

See FRE §§ 801- 802. All of the documents submitted by TCFI constitute hearsay. TCFI does not

show that an exception to the rule against hearsay applies. Instead, it relies upon conclusory

statements unsupported by personal knowledge. 12

          Because the TCFI has failed to submit competent evidence of an agreement to arbitrate,

the motion should be denied. Agostino v. Ally Fin. Inc., No. Case No: 8:18-cv-1202-T-36TGW,

2018 U.S. Dist. LEXIS 195764, at *9 (M.D. Fla. Nov. 16 2018) (“Ally has not met its burden to

provide competent evidence upon which this Court can rely to find that either an agreement to


11
     Lewis Decl. ¶ 2.
12
  Ms. Lewis does not say whether the documents were made or kept in the regular course of business, how
the documents were kept, how she knows that the Spanish handbook was initialed and signed by Mr.
Gonzalez (¶ 6), or how she knows that documents were furnished to Mr. Gonzalez (¶ 7).


                                                   6
arbitrate exists[.]” The arbitration agreement “is not in an admissible form because no person

authenticates it or establishes it as Ally’s business record or otherwise meets an exception to the

hearsay rule.”); Nelson v. Tamko Bldg. Prods., No. 15-1090-MLB, 2015 U.S. Dist. LEXIS 75597,

at *4 (D. Kan. June 11, 2015) (“Defendant has merely attached the unauthenticated limited

warranty to its motion. Because defendant has not submitted evidence sufficient to establish an

enforceable agreement to arbitrate, defendant’s motion to compel arbitration is denied.”). 13

          F.      The English Handbook is Inadmissible Because it was Not Signed by the
                  Plaintiff and it is Not an Accurate Translation of the Spanish Handbook

          Although all of TCFI’s arguments are focused on the English version, it overlooks the fact

that the English version is not properly before the Court. TCFI it concedes that the English

version was neither provided to, nor signed by, the Plaintiff. 14 Moreover, even assuming (without

conceding) that the English version is a “word-for-word literal translation” of the Spanish

handbook, the translation is flawed. 15

          G.      TCFI May Not Cure its Defective Motion by Supplying New Evidence in its
                  Reply Error! Bookmark not defined.

          “It cannot seriously be disputed that a movant is obligated to file with a motion the

evidentiary materials necessary to justify the relief it seeks.” Springs Indus., Inc. v. Am. Motorists

Ins. Co., 137 F.R.D. 238, 239 (N.D. Tex. 1991). “A reply brief should not [. . .] be used to cure a

defective motion by providing new evidence.” Paz Sys. v. Dakota Grp. Corp., No. CV 05-4763

(LDW) (WDW), 2006 U.S. Dist. LEXIS 103301, at *10 (E.D.N.Y. June 16, 2006); Grand River


13
  Although Plaintiff refers to the documents annexed to the Lewis Declaration, Plaintiff does not thereby
concede or agree that TCFI has submitted any admissible evidence. References to the documents are only
made to the extent that the Court considers said documents in its decision.
14
  See Lewis Decl. ¶ 6 (“New hires whose primary language was Spanish were provided the Spanish
language version of the employee handbook.”), ¶ 7 (“the Spanish language version of the employee
handbook. . .was provided to Mr. Gonzalez”).
15
     See Expert Report of Dr. Nydia Flores-Ferran, Ph.D.


                                                      7
Enters. Six Nations v. King, No. 02 Civ. 5068 (JFK), 2012 U.S. Dist. LEXIS 10802, at *23

(S.D.N.Y. Jan. 30, 2012) (therefore documents submitted for the first time with a reply “are not

properly before the Court and will not be considered.”).

III.      EVEN IF THE PLAINTIFF HAD SIGNED THE ENGLISH VERSION OF THE
          HANDBOOK, ARBITRATION WOULD NOT BE COMPELLED 16

          A.      The Purported “Arbitration Agreement” is Illusory

          The English handbook contains a table of contents titled “What’s In Your Cheesecake

Factory Handbook.” Included among the contents of the handbook are “Things You Need To

Know”, and “Handbook Receipt And Confidentiality Agreement”.

          Under the section “Things You Need To Know”, the handbook states:

          Other than your at-will employment status, The Cheesecake Factory reserves the right to
          change or revise policies, procedures and benefits described in this Handbook as the need
          arises [. . .] [It] is not, nor should be, considered to be an agreement or contract of
          employment, express or implied, or a promise of treatment in a particular manner in any
          given situation. 17

          Under the section “Handbook Receipt And Confidentiality Agreement”, the handbook

states:

          I am aware that The Cheesecake Factory may, in its sole discretion, change, rescind or add
          to any policies, benefits or practices described in this handbook [. . .] I also understand
          that the Handbook and other training materials are not, nor should they be considered to
          be, an agreement or contract of employment, express or implied [. . .] 18

TCFI did not except any portion of the handbook from this unfettered discretion.

          It is well established that “if the promisor is free to perform it or not, as he wills, [a

promise] is wholly illusory and will not be enforced.” In re 114 Tenth Ave. Ass’n, 441 B.R. 416,


16
  Again, Plaintiff contends that the English handbook is not properly before the Court and the arguments
concerning the English handbook are made assuming the Plaintiff had signed and been presented with the
English handbook.
17
     English handbook, p. 13.
18
     English handbook, p. 68.


                                                      8
428 (S.D.N.Y. 2010). Numerous courts have found that where a party has unilateral authority to

modify the terms of an arbitration agreement without the other party’s consent and with little or

no notice, the arbitration agreement is illusory. Day v. Fortune Hi-Tech Mktg., 536 F. App'x 600,

604 (6th Cir. 2013) (finding an arbitration provision which allowed the drafter to modify at any

time made the promise illusory and the contract void for lack of consideration)); Perez v. Hosp.

Ventures Denver L.L.C., 245 F. Supp. 2d 1172, 1175 (D. Colo. 2003) (finding the ability to

modify the terms of an arbitration agreement unilateral rather than mutual and therefore illusory);

Dumais v. Am. Golf Corp., 150 F. Supp. 2d 1182, 1193–94 (D.N.M. 2001) (finding an arbitration

agreement that allowed the drafter to unilaterally modify to be illusory); Trumbull v. Century

Mktg. Corp., 12 F. Supp. 2d 683, 686 (N.D. Ohio 1998) (finding an employment contract that

allowed for unilateral modification by the employer to be illusory, including the arbitration

clause).

       B.      The Cases Cited by Defendant are Neither Binding nor Persuasive

       TCFI cites to cases from the District of Maryland, the District of Arizona, or the Western

District of Tennessee, which are neither binding nor persuasive, as they are from district courts

and rely upon state law. These cases did not consider the language of the Spanish handbook, and

are therefore did not address the issue before this Court - whether the Spanish handbook compels

binding arbitration. Moreover, in Sedelnikova v. Cheesecake Factory Rest., Inc., Civil Action No.

AW-09-2398, 2010 U.S. Dist. LEXIS 56211, at *8-9 (D. Md. June 7, 2010), the court did not

apply the proper standard. On a motion to compel arbitration, the court must draw “all reasonable

inferences in favor of the non-moving party.” Starke v. Squaretrade, Inc., 913 F.3d 279, 281 n.1

(2d Cir. 2019) (citing Nicosia v. Amazon.com, Inc., 834 F.3d 220, 229 (2d Cir. 2016)). The

Sedelnikova court specifically noted the handbook language permitting TCFI to “in its sole

discretion, change” or “rescind” the contents of the handbook, and stated


                                                 9
          This Court would certainly find a lack of consideration in this agreement were the Court
          to consider the arbitration clause part of the revocable Handbook policies and other
          training materials.

2010 U.S. Dist. LEXIS 56211, at *8-9 (emphasis added). 19 The Sedelnikova court also

acknowledged that “[c]ertainly, the arbitration agreement’s presence on page sixty-six of the

Handbook lends some weight to Plaintiff’s argument that the arbitration policy is part of the

Handbook policies.” Id. Nevertheless, the Court resolved an issue of fact against the non-movant

by finding that “the arbitration agreement is distinct from the Handbook policies.” Id. Stated

another way, “Yes, TCFI reserved the right to change ‘any of the policies [or] practices’

contained in ‘this handbook.’ Yes, ‘this handbook’, includes the pages initialed or signed by the

Plaintiff mentioning arbitration. Yes, the arbitration practices and policies on pages 68 and 69

are contained within ‘this handbook.’ However, at the same time, the arbitration policies are

‘distinct’ from all of the other practices and policies in the handbook, and constitute an

enforceable agreement.”

          C.      The Implied Covenant of Good Faith and Fair Dealing is Inapplicable and
                  Does not Constitute Consideration

          TCFI may point to case law in New York holding that where the covenant of good faith

and fair dealing acts as a limitation on the employer’s discretion to change the terms of the

handbook, there is sufficient consideration. See e.g., S. Telecom Inc. v. ThreeSixty Brands Grp.,

LLC, 520 F. Supp. 3d 497, 506 (S.D.N.Y. 2021).

          The implied covenant of good faith and fair dealing is breached when a party acts in a
          manner that would deprive the other party of the right to receive the benefits of their
          agreement. The implied covenant includes any promises which a reasonable promisee
          would be justified in understanding were included. However, no obligation may be
          implied that would be inconsistent with other terms of the contractual relationship.




19
     (D. Md. June 7, 2010)


                                                  10
1357 Tarrytown Rd. Auto, L.L.C. v. Granite Props., L.L.C., 2016 N.Y. Slip Op. 05981 (2d Dep’t

Sept. 14, 2016).

          The implied covenant is inapplicable for several reasons. First, the TCFI handbook

expressly disclaims the creation of any contractual relationship between the parties. According to

the handbook,

          Other than your at-will employment status, The Cheesecake Factory reserves the right to
          change or revise policies, procedures and benefits described in this Handbook as the need
          arises. This Handbook is provided as a guide[.] The Handbook is not, nor should be,
          considered to be an agreement or contract of employment, express or implied, or a
          promise of treatment in a particular manner in any given situation.

                                              ***
          The Company can terminate the employment relationship at will, at any time, with or
          without cause or advance notice. 20

          The implied covenant of good faith and fair dealing can only be invoked if there is an

agreement (i.e., if “a party acts in a manner that would deprive the other party of the right to

receive the benefits of their agreement”). Id. In this case, TCFI disclaims any contractual

obligations to the Plaintiff.

          Second, any “party who asserts the existence of an implied-in-fact covenant bears a heavy

burden, for it is not the function of the courts to remake the contract agreed to by the parties, but

rather to enforce it as it exists.” Rowe v. Great Atl. & Pac. Tea Co., 46 N.Y.2d 62, 69, 412

N.Y.S.2d 827, 85 N.E.2d 566 (1978). In other words, a party must identify the “fruits of the

contract” that would be denied absent reading an implied covenant into the contract. See S.

Telecom Inc. v. ThreeSixty Brands Grp., LLC, 520 F. Supp. 3d 497, 507 (S.D.N.Y. 2021). “[I]t

cannot be said that application of the covenant is necessary to preserve the ‘fruits of a contract’”,

because “[t]he fruits of a contract do not include a benefit to which a party was not entitled.” Id.


20
     English handbook, p. 13.


                                                  11
Here, the Cheesecake factory has not identified contractual rights which the Plaintiff was entitled

to but would be denied absent an implied covenant.

       Third, the Plaintiff was an at-will employee who was owed no duty of good faith and fair

dealing by TCFI. TCFI specifically states that employment is “at will.” In New York, an

employee at will can be dismissed “at any time and for any reason or no reason.” Zolotar v. N.Y.

Life Ins. Co., 172 A.D.2d 27, 30, 576 N.Y.S.2d 850, 852 (1st Dep’t 1991)

       In Murphy v. Am. Home Prods. Corp., 58 N.Y.2d 293, 461 N.Y.S.2d 232, 448 N.E.2d 86

(1983), the New York Court of Appeals “considered whether a long-tenured corporate employee

allegedly discharged in part for reporting accounting improprieties to top management had stated

a cause of action. . .in contract for breach of an implied covenant of good faith and fair dealing.”

Horn v. N.Y. Times, 100 N.Y.2d 85, 91, 760 N.Y.S.2d 378, 380, 790 N.E.2d 753, 755 (2003). The

Plaintiff “argued that the law implies a covenant of good faith and fair dealing in all contracts,

including employment contracts[.]” Id. at 92, 760 N.Y.S.2d at 381, 790 N.E.2d at 756.

       In view of the fact that the instant matter involves employment at will, we find meritless
       this contention about an implied covenant, since "in the context of such an employment it
       would be incongruous to say that an inference may be drawn that the employer impliedly
       agreed to a provision which would be destructive of his right of termination. The parties
       may by express agreement limit or restrict the employer's right of discharge, but to imply
       such a limitation from the existence of an unrestricted right would be internally
       inconsistent"

Zolotar v. N.Y. Life Ins. Co., 172 A.D.2d 27, 31, 576 N.Y.S.2d 850, 853 (App. Div. 1st Dept.

1991)(citing Murphy v American Home Prods. Corp., at 304-305).

       In other words, irrespective of the provisions in the handbook, TCFI could exercise the

unimpaired right to terminate the Plaintiff at any time for any reason or no reason at all, with or

without notice, and owed no duty of good faith and fair dealing to at will employees.




                                                 12
          D.      The Arbitration Provision is Unenforceable Because TCFI did Not Expressly
                  Make Arbitration a Condition of Employment

          The English handbook expressly disavows the creation of any contractual rights. 21 It is

only provided as a “guide” 22, and TCFI expressly reserves the right to change the terms of the

handbook at any time. 23

          “As several courts in this Circuit have noted, an employer cannot rely on the very same

terms to snatch away employees contractual rights with one hand while imposing asymmetric

contractual duties with the other.” Seltzer v. Clark Assocs., L.L.C., No. 20 Civ. 4685 (AKH), 2020

U.S. Dist. LEXIS 161542, at *8 (S.D.N.Y. Sept. 3, 2020); United States ex rel. Harris v. EPS,

Inc., No. 05 Civ. 212, 2006 U.S. Dist. LEXIS 30012, 2006 WL 1348173, at *5 (D. Vt. May 16,

2006) (“Having inserted these disclaimers in an apparent effort to avoid vesting [the employee]

with contractual rights, [the employer] cannot conveniently choose to ignore them and argue that

the Handbook imposes contractual obligations. . .”).

          For this reason, “[a]n arbitration agreement included in an employee handbook with

language ‘providing that the handbook does not constitute a . . . contract of employment or that

the arbitration policy may be amended’ is enforceable [if] the language of the arbitration

agreement is ‘distinct and mandatory’ and [if] the employee is advised of the policy and that

‘compliance with it [is] a condition of employment.’” Isaacs v. OCE Bus. Servs., 968 F. Supp. 2d



21
  “The Handbook is not, nor should be, considered to be an agreement or contract of employment, express
or implied, or a promise of treatment in a particular manner in any given situation.” Page 13.
22
     The Handbook “is provided as a guide.” Page 13.
23
  “The Cheesecake Factory reserves the right to change or revise policies, procedures and benefits
described in this Handbook as the need arises.” Page 13. “The Handbook is not, nor should be, considered
to be an agreement or contract of employment, express or implied, or a promise of treatment in a particular
manner in any given situation.” Page 13. The employee is “aware that The Cheesecake Factory may, in its
sole discretion, change, rescind or add to any policies, benefits or practices described in this handbook or
other training material and that [the employee] must abide by the new policies and practices.” Page 65.


                                                       13
564, 571 (S.D.N.Y. 2013)(citing Brown v. St. Paul Travelers Co., 559 F. Supp. 2d 288, 292

(W.D.N.Y. 2008), aff’d, 331 F. App’x 68 (2d Cir. 2009).

        Turning to the specific language in the Handbook:

        I agree to participate in impartial dispute-resolution proceedings as a condition of and as
        consideration for the offer of employment by the Company. If I, or the Company,
        determine that the Company’s internal procedures for handling claims. . .have not resulted
        in a mutually acceptable resolution of disputes between me and the Company, I agree to
        participate in arbitration proceedings.

        Although TCFI made “participation in impartial dispute-resolution proceedings” a

condition of employment, it did not make Arbitration a condition of continued employment, and

such a term should not be read into the agreement. Quadrant Structured Prods. Co., Ltd. v.

Vertin, 2014 NY Slip Op 4114, ¶ 8, 23 N.Y.3d 549, 559-60, 992 N.Y.S.2d 687, 694, 16 N.E.3d

1165, 1172 (“In construing a contract we look to its language, for a written agreement that is

complete, clear and unambiguous on its face must be enforced according to the plain meaning of

its terms.”).

        In Seltzer, as in this case, the handbook “expressly disavow[ed] that it create[d]

contractual rights or duties; self-describe[d] as ‘guidelines only; and reserve[d] to [the employer

the] right to unilaterally alter the Handbook at any time, and without any notice.” As in this case,

the defendant employer in Seltzer argued that the arbitration provision was valid despite the

disclaimer of contractual rights. The court observed that

        the only cases that [have] granted motions to compel arbitration despite language
        disclaiming the creation of contract rights involved arbitration provisions that specified
        that compliance with the arbitration policy was a condition of employment. See, e.g.,
        Patterson v. Raymours Furniture Co., Inc., 96 F.Supp.3d 71, 76 (S.D.N.Y. 2015) (“Here
        the [arbitration provision] clearly states: ‘This Program is an essential element of your
        continued employment relationship with Raymour & Flanigan and is a condition of your
        employment.’“); Curry v. Volt Info. Scis., Inc., No. 07 Civ. 7158, 2008 U.S. Dist. LEXIS
        20910, 2008 WL 719214, at *1 (S.D.N.Y. Mar. 18, 2008) (the employee handbook
        provided that, “Arbitration is an essential element of your employment relationship with
        Volt and is a condition of your employment”); Brown v. St. Paul Travelers Co., 331 F.



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       App'x 68, 69-70 (2d Cir. 2009) (employer executive emailed all employees that “abiding
       by” the company arbitration policy “was an ‘express condition’ of continuing
       employment”); Graham v. Command Sec. Corp., 46 Misc. 3d 1224(A), 13 N.Y.S.3d 850
       (N.Y. Sup. Ct. 2014) (employer sent email advising all employees that agreeing to the
       arbitration policy “‘was an express condition’ of continuing employment”).

Seltzer, 2020 U.S. Dist. LEXIS 161542, at *9 (S.D.N.Y. Sep. 3, 2020); see also Sherry v. Sisters

of Charity Med. Cen., No. 98 Civ. 6151, 1999 U.S. Dist. LEXIS 6623, 1999 WL 287738, at *5

(E.D.N.Y. May 4, 1999) (“[T]he language . . . does not indicate that as a condition of

employment, employees agree to submit disputes to arbitration.”). The Seltzer court refused to

enforce the arbitration provision, noting that “the Handbook here did not notify employees that

foregoing the right to bring suit in court amounted to a condition of employment.” Seltzer, at *9.

       E.      The Arbitration Envisioned by the Agreement is Non-Binding, and Therefore
               is not Recognized Under the FAA as a Basis for a Stay

       “[C]ourts must place arbitration agreements on an equal footing with other contracts, and

enforce them according to their terms.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339,

131 S. Ct. 1740, 1745-46 (2011)(citations omitted). Although the FAA’s purpose “was to make

arbitration agreements as enforceable as other contracts, but not more so.” Opals on Ice Lingerie,

Designs by Bernadette, Inc. v. Bodylines Inc., 320 F.3d 362, 369 (2d Cir. 2003). Whatever the

purposes of the FAA, it should not permit an employer to draft a provision that is obscure and

vague enough on the one hand to not be understood by the employee, but carefully crafted to be

“understood” by a court to compel arbitration.

       An interpretation of a contract that renders contract language “superfluous or meaningless

. . . is not preferred and will be avoided if possible.” Shaw Grp., Inc. v. Triplefine Int’l Corp., 322

F.3d 115, 124 (2d Cir. 2003). Words in a contract are given their “plain. . .reasonable and

ordinary meaning.” Id.




                                                  15
          TCFI decided to qualify the employees’ obligation as one of “participation” only: “I agree

to participate in arbitration proceedings.” 24 “Participate” is not ordinarily used to refer to binding

legal proceedings. Participation is most often used to refer to activities that are voluntary. For

example, “Somewhat like adults who choose to participate in a ‘closely regulated industry,’

students who voluntarily participate in school athletics have reason to expect intrusions upon

normal rights and privileges, including privacy.” 25 “Users can participate with their friends in

games like tag or dodgeball.” 26 “Guests can participate in the event’s silent auction by placing

bids in person or online on a mobile device or computer.” 27 Indeed, the term “participate in”

arbitration has been used to describe arbitration that is not binding. See Pub. Risk Mgmt. of

Fla. v. Wesco Ins. Co., No. 6:21-cv-788-GAP-LRH, 2021 U.S. Dist. LEXIS 219542, at *3

(M.D. Fla. Sept. 28, 2021) (where arbitration was expressly made non-binding, but

“participation in any such arbitration shall be considered as a condition precedent to any civil

litigation between the parties”).

          An ordinary person knows that there is a difference between “participating in” and “being

bound” (by something). Here, the English handbook requires only “participation in” arbitration.

A reading which make arbitration non-binding does not construe this language against the drafter,

but instead recognizes the plain context, meaning and use of the word “participate.” Non-binding

forms of dispute resolution do not “fall within the FAA's definition of ‘arbitration.’ Therefore, the




24
  The manual does not state that the employee agrees “to arbitration proceedings”, “to arbitration”, “to
arbitrate disputes”, “to submit disputes to arbitration”, “to settle disputes through arbitration”, “to resolve
disputes through arbitration”, “to binding arbitration”, “to submit disputes to binding arbitration”, “to settle
disputes through binding arbitration” or “to resolve issues to binding arbitration.”
25
     Vernonia Sch. Dist. 47J v. Acton, 515 U.S. 646, 657, 115 S. Ct. 2386, 2393 (1995)
26
     David Lucatch, Forbes, 13 Apr. 2022.
27
     Beacon-news Staff, chicagotribune.com, 8 Apr. 2022


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Court is under no obligation to stay this matter pending the outcome of this non-binding

procedure.” Pub. Risk Mgmt. of Fla., 2021 U.S. Dist. LEXIS 219542, at *6.

IV.        IF THE COURT COMPEL’S ARBITRATION, IT SHOULD COMPEL
           ARBITRATION ON A CLASS BASIS

           The fundamental objective of contract interpretation is to give effect to the parties’

intentions at the time the contract was signed. See Klos v. Polskie Linie Lotnicze, 133 F.3d 164,

168 (2d Cir. 1997). In April 2009, TCFI neither intended nor understood the handbook to limit an

employee’s ability to assert class claims in arbitration. Therefore, the arbitration should proceed

on a class basis.

           On November 4, 2008, the Second Circuit decided the case of Stolt-Nielsen SA v.

AnimalFeeds Int’l Corp., 548 F.3d 85, 87 (2d Cir. 2008). In Stolt-Nielsen, the Second Circuit held

that where an arbitration clause is silent on the availability of class arbitration, an arbitral decision

permitting class arbitration would not be disturbed. Id. at 101. 28 In February 2009, less than 4

months after Stolt-Nielsen, TCFI drew up a “Mutual Agreement to Arbitrate Claims” (the “long

form”) 29 which included the following statement:

           There shall be no right or authority for any dispute to be brought, heard, or arbitrated as a
           class, collective, or representative basis and the Arbitrator may not consolidate or join the
           claims of other persons or parties who may be similarly situated. 30

The Plaintiff was hired in April 2009. However, the Plaintiff did not sign the long form. As of

April 2009, TCFI knew that the handbook language would not limit arbitration to individual

arbitration. Yet even though TCFI understood the English handbook to not preclude class


28
  Reversed and remanded on April 27, 2010, by Stolt-Nielsen S. A. v. AnimalFeeds Int’l Corp., 559 U.S.
662, 662, 130 S. Ct. 1758, 1764 (2010).
29
  A copy of the “long form” was previously furnished to Plaintiff’s counsel by counsel for TCFI. A copy
of the long form is annexed to the Moser Declaration as Exhibit 2. It was not signed by the Plaintiff and is
submitted solely for the purpose of comparison with the handbook.
30
     Id.


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arbitration at the time it was ostensibly signed, it now asks the Court to compel individual

arbitration.

        Neither the Supreme Court nor the Second Circuit has addressed the specific facts

presented in this case. There were two purported “arbitration agreements” in effect at the time the

Plaintiff was hired. The long form, expressly limiting class arbitration, is not signed. The short

form, relied upon by TCFI, contains no limitation on class arbitration.

        The silent purpose of employer-drafted arbitration clauses is to protect employers, not

employees. Under TCFI’s suggested interpretation of the short form, the short form says the same

thing as the long form. However, the long form was not signed by the Plaintiff and the two

documents do not say or mean the same thing, as TCFI suggests.

                                          CONCLUSION

        For the foregoing reasons, it is respectfully requested that the Court deny the Defendant’s

motion to compel arbitration and direct that discovery proceed.

Dated: Huntington, New York
       April 15, 2022
                                                      Respectfully Submitted,
                                                      Moser Employment Law Firm, P.C.




                                                      By: Steven John Moser




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